 Case 4:06-cr-40019-JPG           Document 768 Filed 08/21/08              Page 1 of 1      Page ID
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                                Case No. 06-CR-40019-JPG

 RICHARD D. WROLEN,

                 Defendant.

                                 MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Richard Wrolen’s pro se motion for

appointment of counsel (Doc. 764). Wrolen is currently represented by counsel Steven V. Stenger,

who represented Wrolen at sentencing and on direct appeal to the Seventh Circuit. The Seventh

Circuit summarily affirmed the sentence imposed on Wrolen by this Court. The time for petition

for writ of certiorari to the United States Supreme Court has not yet run. Wrolen’s counsel has

apparently advised him that counsel does not believe there are reasonable grounds for filing a

petition for a writ of certiorari, and will only do so if ordered to by the Seventh Circuit on a

motion from Wrolen.

       At any rate, Wrolen asserts that he is in need of new counsel to assist him in his “motions

pending in this Court pursuant to 28 U.S.C. § 2255 and 18 U.S.C. § 3582(c).” The Court has

been unable to locate any such motions filed by Wrolen. As a result, there is nothing pending

before this Court for which Wrolen is in need of the assistance of counsel. Accordingly,

Wrolen’s motion (Doc. 764) is DENIED.

IT IS SO ORDERED.
DATED: August 21, 2008.

                                                       s/ J. Phil Gilbert
                                                       J. PHIL GILBERT
                                                       DISTRICT JUDGE
